Case 2:05-cV-02190-.]DB-tmp Document 10 Filed 07/19/05 Page 1 of =5 Pago|D 16

 

1N THE UNITED STATES DISTRICT CoURT F"ED B"‘ -% D""-
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 05 JUL 19 PH 2‘ 37
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WKU l“ i:’, ?-J%LF'YYF{‘US
MH<E ARENDALE,
Plaintiff,
v. NO. 05_2190 B/P
THE CITY oF MEMPHiS,
Defendant.

 

JQ'I'NLI`_PR'O'P®S'E'B SCHEDULING ORDER

 

Pursuant to the Notice of Setting dated June 21, 20057 counsel for the parties Submit the
following joint proposed Scheduling Order:
INlTIAL DISCLOSURES PURSUANT TO Fed. R. Civ. P. 26(3)(1): August 10, 2005
JOINING PARTlES: September 21, 2005
AMENDING PLEAD[NGS: September 2]_, 2005
INIT[AL MOTIONS TO DISMlSS: October 21, 2005
COMPLETlNG ALL DISCOVERY: January 23, 2006
(21) DOCUMENT PRODUCTION: January 23, 2006
(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR ADMISSIONS:
January 23, 2006
(c) EXPERT WIT`NESS DISCLOSURE (Rule 26):
(1) DlSCLOSURE OF PLAINTIFF’S RULE 26 EXPERT INFORMATION:

November 23, 2005

This document entered on the docket sheet |n compliance

Wim ama 53 and/or 79(3) FRCP on 12 ~' ZO~O§"

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Case 2:05-cV-02190-.]DB-tmp Document 10 Filed 07/19/05 Page 2 of 5 Page|D 17

(2) DISCLOS URE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: December 23, 2005
(3) EXPERT WITNESS DEPOSITIONS: January 23, 2006
FILING DISPOSlTl\/E MOTIONS: February 23, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery eutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days ot` the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs Within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be Waived.

This case is set for jury trial, and the trial is expected to last 2-3 days. The parties request
that the trial be set after May 23, 2006. The pretrial order date, pretrial conference date, and trial
date will be set by the presidingjudge.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motion pursuant to Fed.R.Civ.P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party

may file an additional reply, however, without leave of the court. lf a party believes that a reply

Case 2:05-cV-02190-.]DB-tmp Document 10 Filed 07/19/05 Page 3 of 5 Page|D 18

is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting

forth the reasons for which a reply is required
The parties have not consented to trial before the magistrate judge

'I"his order has been entered after consultation with trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this order will not be modified or

extended

lT IS SO ORDERED.

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TU M. PHAM
United States Magistrate Judge

Date; TL“\'“G \Cl j BQQ(_

Case 2:05-cV-02190-.]DB-tmp Document 10 Filed 07/19/05
APPROVED:

ESKINS, KING & SEVlER, PC

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Page 4 of 5 PagelD 19

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 iii
case 2:05-CV-02190 Was distributed by fax, mail, or direct printing on
July 20, 2005 to the parties listed

 

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Honorable J. Breen
US DISTRICT COURT

